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                            No. 21-13146
                                 In the

   United States Court of Appeals
                For the Eleventh Circuit
                         __________________

 ERIC STEINMETZ; MICHAEL FRANKLIN, AND SHENIKA THEUS,
      individually and on behalf of all others similarly situated,
                                               Plaintiffs-Appellees,
                                   v.
                 BRINKER INTERNATIONAL, INC.,
                                               Defendant-Appellant.
                         __________________

              On Fed. R. Civ. P. 23(f) Appeal from the
    United States District Court for the Middle District of Florida
                     Judge Timothy J. Corrigan
                    No. 3:18-cv-00686-TJC-MCR
                     ________________________

 BRIEF OF AMICUS CURIAE THE CHAMBER OF COMMERCE OF
THE UNITED STATES OF AMERICA IN SUPPORT OF APPELLANT
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                          November 23, 2021
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      Steinmetz, et al. v. Brinker International, Inc., No. 21-13146
   CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                   DISCLOSURE STATEMENT
     Pursuant to Rule 26.1, Federal Rules of Appellate Procedure, and

11th Cir. R. 26.1, amicus curiae the Chamber of Commerce of the United

States of America states that, in addition to the persons listed in the

Certificate of Interested Persons and Corporate Disclosure Statement

filed by Appellants on September 22, 2021, the following persons and

entities have an interest in the outcome of this case:

     Andrew R. Varcoe, Counsel for Amicus Curiae the Chamber of

Commerce of the United States of America

     Chamber of Commerce of the United States of America, Amicus

Curiae

     Gilbert C. Dickey, Counsel for Amicus Curiae the Chamber of

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Commerce of the United States of America




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     Amicus curiae the Chamber of Commerce of the United States of

America further certifies that it has no parent company and that no

publicly held company holds 10% or greater ownership interest in the

Chamber.



Dated: November 23, 2021          Respectfully submitted,


                                  /s/ Gilbert C. Dickey
                                  Gilbert C. Dickey




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            STATEMENT OF IDENTITY AND INTEREST 1

      The Chamber of Commerce of the United States of America is the

world’s largest business federation. It represents approximately 300,000

direct members and indirectly represents the interests of more than three

million companies and professional organizations of every size, in every

industry sector, and from every region of the country. An important

function of the Chamber is to represent the interests of its members in

matters before Congress, the Executive Branch, and the courts. To that

end, the Chamber regularly files amicus curiae briefs in cases, like this

one, that raise issues of concern to the nation’s business community.

      The Chamber’s members have a strong interest in promoting fair

and predictable legal standards.         They are particularly likely to be

defendants in putative class actions. The Chamber’s members thus have

a strong interest in ensuring that courts comply with the Supreme

Court’s class action precedents, including undertaking the rigorous

analysis required by Federal Rule of Civil Procedure 23. The Chamber




1 All parties have consented to the filing of this brief. No party’s counsel
authored this brief in whole or in part, and no entity or person, aside from
amicus curiae, its members, or its counsel, made any monetary
contribution intended to fund the preparation or submission of this brief.

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has filed amicus curiae briefs in several recent Rule 23 class action cases,

including Tyson Foods, Inc v. Bouaphakeo, 136 S. Ct. 1036 (2016);

Comcast Corp v. Behrend, 569 U.S. 27 (2013); and Walmart Stores, Inc.

v. Dukes, 564 U.S. 338 (2011).


                     STATEMENT OF THE ISSUES

     Amicus curiae agrees with Appellant Brinker International’s

statement of the issues.


                   SUMMARY OF THE ARGUMENT

     In our increasingly digitized world, it is no surprise that large data

breaches are becoming increasingly common. See Turner, Walker, and

Moore, Data Flows, Technology, and the Need for National Privacy

Legislation, at 26, U.S. Chamber of Commerce Technology Engagement

Center and Political and Economic Research Council (2019) available at

https://americaninnovators.com/research/data-flows-technology-the-

need-for-national-privacy-legislation/.      What might surprise some,

however, is that these data breaches generally do not result in any harm

to the individual consumers whose information has been accessed. Tsao

v. Captiva MVP Restaurant Partners, LLC, 986 F.3d 1332, 1343 (11th

Cir. 2021). Nevertheless, putative class actions continue to be brought

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on behalf of the individuals whose data has been accessed. Permitting

these suits to proceed as class actions would impose substantial costs on

the business community without redressing even a substantial risk of

harm to the consumers.

     This case is a perfect example of why data breach cases are so ill

suited to use of the class action device. Here, the district court approved

both a national and California class composed of customers who “(1) had

their data accessed by cybercriminals and, (2) incurred reasonable

expenses or time spent in mitigation of the consequences of the Data

Breach.”   Doc. 167 at 16.     That decision exposes the defendant to

significant costs and settlement pressure in violation of bedrock

protections for defendants in both Article III and Rule 23.

     First, the certified classes cannot be reconciled with the limits that

this Court has imposed on standing in data breach cases. This Court has

explained that “[e]vidence of a mere data breach does not, standing alone,

satisfy the requirements of Article III standing.” Tsao, 986 F.3d at 1344.

Each plaintiff must show a “substantial risk” of harm that is “certainly

impending.” Id. And neither vague allegations of the risk of future harm

nor self-imposed costs undertaken in response to a data breach meet that



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standard. Id. But the district court approved a class based on exactly

those considerations. Indeed, it defined the class based on the putative

members’ self-imposed decision to incur expenses or spend time in

mitigation of the possible consequences of the Data Breach. Doc. 167 at

16.

      Second, in defining the classes in this manner, the district court all

but ensured that individual issues will predominate. Each member of

the class must show expenses or time spent in mitigation of the

consequences of the data breach before he or she can recover. But neither

the district court nor the plaintiffs have suggested any way to resolve

that inquiry without individual adjudications that would predominate

over common issues.

      Third, the district court approved the classes on the theory that

damages could be awarded based on an average amount of each category

of damages even when a plaintiff had not suffered any damages in such

category. The Supreme Court rejected a similar proposal for “Trial by

Formula” in Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 367, 131 S. Ct.

2541, 2561 (2011). Dukes establishes that class action defendants must

have the opportunity to present their defenses to individual claims. And



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Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 459 (2016), confirms that

representative evidence that would not be sufficient to sustain a jury

finding if it were introduced in each individual action cannot be used to

meet that task in a class action. Since the representative evidence in this

case does not meet that standard and instead would prevent the

defendant from litigating its individualized defenses, the district court’s

method for assessing damages in this suit is impermissible.

           ARGUMENT AND CITATIONS OF AUTHORITY

I.   Plaintiffs cannot establish standing in a data breach case without
     showing the kind of “misuse” that raises a substantial risk of
     certainly impending harm.

     All federal litigation, including class actions, must comport with the

Constitution’s limits on judicial power. Article III of the Constitution

limits the jurisdiction of federal courts to “case[s]” or “controvers[ies].”

Each plaintiff must show that he has standing to sue to satisfy this

requirement. See Spokeo, Inc. v. Robins, 578 U.S. 330, 338, 136 S. Ct.

1540, 1547 (2016). To show standing, a plaintiff must have “(1) suffered

an injury in fact, (2) that is fairly traceable to the challenged conduct of

the defendant, and (3) that is likely to be redressed by a favorable judicial

decision.” Id.



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     Rule 23 is not an end-run around the standing requirement. “Rule

23’s requirements must be interpreted in keeping with Article III

constraints, and with the Rules Enabling Act, which instructs that rules

of procedure ‘shall not abridge, enlarge or modify any substantive right,’

28 U.S.C. § 2072(b).” Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 613

(1997). So each class member must demonstrate standing before an

award in his favor, TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208

(2021), and indeed must establish standing at the successive stages of the

litigation “with the manner and degree of evidence required at” those

stages, Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).            Thus,

“whether absent class members can establish standing may be

exceedingly relevant to the class certification analysis required by

Federal Rule of Civil Procedure 23.” Cordoba v. DIRECTV, LLC, 942

F.3d 1259, 1273 (11th Cir. 2019). In particular, common issues will not

predominate if “many claims of the absent class members” are not

justiciable. Id.

     In consumer data breach cases, identification of a putative class

that can meet Article III and Rule 23 requirements will often prove

impossible. Modern systems for gathering and storing customer data



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have made large data breaches increasingly common.                  See Turner,

Walker, and Moore, Data Flows, Technology, and the Need for National

Privacy Legislation, at 26, U.S. Chamber of Commerce Technology

Engagement Center and Political and Economic Research Council (2019).

But most data breaches do not result in either fraud on an existing

account or identity theft. Tsao, 986 F.3d at 1343. Thus, “[e]vidence of a

mere data breach does not, standing alone, satisfy the requirements of

Article III standing.” Id. at 1344.

     Instead, a putative data breach class must show a “substantial risk”

of harm that is “certainly impending.”         Id. at 1344.        “[T]hreadbare

allegations” of potential harm will not satisfy this standard. Id. at 1343.

Nor can a plaintiff rely on self-inflicted injuries following a data breach

to establish standing. Id. at 1345. Instead, each plaintiff must advance

evidence to show that the data breach presented a substantial and

certainly impending threat of harm to him. See id. at 1343 (explaining

that reports about the general risk of identity theft failed to show a risk

“in this case”) (emphasis omitted).

     This Court has already correctly held that allegations of a data

breach without any specific evidence of actual misuse of the data will not



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ordinarily suffice to establish standing. In Tsao, the plaintiff argued that

a “substantial risk of identity theft, fraud, and other harm in the future

as a result of the data breach” met his burden to establish Article III

standing. Tsao, 986 F.3d at 1340. This Court, however, found that the

data breach did not create a substantial risk of certainly impending

harm. Relying on a 2007 Report from the United States Government

Accountability Office, the Court noted that most data breaches do not

result in either identity theft or fraudulent charges.             Id. at 1343.

Moreover, even absent the GAO report, the Court explained that it would

still conclude that “vague, conclusory allegations” of “actual misuse” were

not enough to establish standing. Id. Instead, a plaintiff must show

“specific evidence” of either “actual misuse of class members’ data” or

some other facts that would raise a substantial risk of certainly

impending harm in the case. Id. at 1344.

     Tsao similarly held that “efforts to mitigate the risk of identity theft

caused by the data breach” are themselves insufficient to establish

standing. Id. Mitigation efforts like the cancellation of credit cards in

Tsao are “inextricably tied” to the plaintiff’s “perception of the actual risk

of identity theft.” Id. Since “it is well established that plaintiffs ‘cannot



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manufacture standing merely by inflicting harm on themselves based on

their fears of hypothetical future harm that is not certainly impending,”

these self-imposed harms are insufficient for standing.           Id. (quoting

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416, 133 S. Ct. 1138, 1151

(2013)).

     The district court’s certification order conflicts with both of these

holdings. The district court certified both a nationwide and a California

class composed of customers who “(1) had their data accessed by

cybercriminals and, (2) incurred reasonable expenses or time spent in

mitigation of the consequences of the Data Breach.” Doc. 167 at 16. The

court believed that this class definition would “avoid later predominance

issues regarding standing and the inclusion of uninjured individuals.” Id.

The court reasoned that class members would be able to show “that they

have had their data ‘misused’ . . . , either through experiencing fraudulent

charges or it being posted on the dark web.” Id. Moreover, it concluded

that “individuals must have some injury in the form of out-of-pocket

expenses or time spent to be a part of the class.” Id.

     The district court’s reasoning cannot be reconciled with Tsao.

Starting with the requirement of a substantial risk of injury, the district



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court read Tsao’s instruction that a plaintiff will ordinarily need to show

some “actual misuse” to mean that any action that could be labelled

“misuse” is enough to establish standing. Tsao, 986 F.3d at 1344. But

that is not what Tsao held. Tsao held that a plaintiff in a data breach

case must show a substantial risk of such harm that is certainly

impending. Id. Alleged “misuse” of data is therefore relevant only to the

extent that it is the kind of “misuse” that poses a substantial risk of

imminent harm. See id.

     The mere fact of having one’s information accessed in a data breach

and posted on the dark web does not create a substantial risk of imminent

harm. To begin, Tsao confirmed that the mere act of having information

accessed does not meet this standard. While Tsao noted that the GAO

Report that it relied on “is over a decade old,” more recent research

bolsters Tsao’s conclusion that a breach involving customer data does not

present a substantial risk of harm. Id. at 1343. The U.S. Chamber of

Commerce Technology Engagement Center and the Political and

Economic Research Council published a detailed study on the risks of

data breaches in 2019. See Data Flows, Technology, and the Need for

National Privacy Legislation. Like the GAO report, this Report found



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that “individuals involved in data breaches (overall) are not at an

especially high risk for ID theft or fraud.” Id. at 37. In fact, it found that

“[o]nly a very small share of all breached records could possibly translate

to annual incidents of ID theft.” Id. Data show that there is “very little

change in the rate of ID theft and fraud” even when there is a substantial

increase in data breaches. Id. at 35.

     The posting of information on the “dark web” does not change this

analysis. Information that was part of a data breach should appear on

the dark web at a higher rate than other information if data-breach

perpetrators routinely relied on the dark web to market personal

information. But that is not what the data show. The U.S. Chamber

Report compared the rate at which personal data appeared on the dark

web between two groups with credit monitoring. The first group obtained

credit monitoring because of a data breach, and the second group

consisted of individuals who had obtained direct-to-consumer credit

monitoring. Id. at 43. The Report found “no practical difference . . . in

the rate of whether Dark Web data was detected from the consumer

between the two groups.” Id. at 47. This suggests that consumers who

have their data breached and put on the dark web are not at a materially



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greater risk of imminent identity theft or fraudulent charges than other

individuals. For this reason, the Eighth Circuit has held that allegations

that “illicit websites are selling [the plaintiffs’] Card Information to

counterfeiters and fraudsters” did not show the kind of misuse that could

establish standing. In re SuperValu, Inc., 870 F.3d 763, 770 (8th Cir.

2017). In Tsao, this Court was “persuaded” by that decision. 986 F.3d at

1343. In today’s modern world, there are simply too many data breaches

that never result in any actual harm to the consumer, including breaches

that result in information being placed on the dark web, for the mere

occurrence of a data breach to ground Article III standing.

     The district court’s effort to cure the standing problems in this case

by defining the class to include only individuals who had incurred

expenses or lost time in response to the data breach also runs headlong

into Tsao. Indeed, Tsao expressly rejected the idea that this kind of self-

imposed harm could overcome the absence of a substantial risk of injury.

Actions taken because of “fears of hypothetical future harm that is not

certainly impending” have no role in establishing standing. Id. at 1344

(quoting Clapper, 568 U.S. at 416, 133 S. Ct. at 1151).




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      The district court’s attempt to evade the limitations of Tsao, if

affirmed, will invite a deluge of wasteful litigation in this Circuit. Since

data breaches are common but harm resulting from a data breach is rare,

courts have consistently rejected attempts to invoke the jurisdiction of

the federal courts without a showing of the kind of misuse that creates

an imminent risk to a consumer. See Tsao, 986 F.3d at 1343. The district

court’s approach, however, would permit a plaintiff to invoke the

jurisdiction of the federal courts by citing any action labeled a “misuse”

even if there was never a risk of imminent harm. That lax approach to

standing would draw data breach suits to this Circuit, creating

substantial costs both for the courts and for defendants. And these

burdens cannot be justified by any vindication of the rights of plaintiffs:

the district court’s approach would be necessary only when a plaintiff

could not show any misuse that presents a risk of imminent harm.

II.   The district court’s classes will require individual proceedings on
      class membership that will predominate over common issues.

      Putting aside the district court’s failure to understand what is

necessary to show standing after a data breach, the district court’s class

definitions will ensure that individualized issues predominate over

common issues. This Court has decertified a class where “each plaintiff


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will likely have to provide some individualized proof that they have

standing.” Cordoba, 942 F.3d at 1275. And here, although it attempted

to tailor the classes to meet the requirements for standing, the district

court failed to recognize that this case will unavoidably require precisely

such individual mini-trials to determine class membership. The district

court’s order defines each of the classes to include only individuals who

spent funds or time responding to the data breach. Determining whether

a plaintiff meets this standard would require an individual adjudication

of whether that plaintiff took any action in response to the breach. See

TransUnion, 141 S. Ct. at 2208 (explaining that each plaintiff “must

demonstrate standing for each claim that they press”). Those individual

inquiries would predominate over any common issues in violation of Rule

23.


III.   The imposition of damages based only on “averages” unconnected
       to harm actually suffered by particular plaintiffs violates the Rules
       Enabling Act and Supreme Court precedent.

       Plaintiffs failed to meet their burden on predominance in this case

for a second reason as well: they have failed to identify any method for

establishing damages that can be done on a common basis without

altering the substantive rights of the defendant. This Court has long held


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that the predominance inquiry prohibits class certification where

individual issues concerning damages will predominate over other issues.

See Sacred Heart Health Sys., Inc. v. Humana Mil. Healthcare Servs.,

Inc., 601 F.3d 1159, 1178–79 (11th Cir. 2010).              Claims involving

“extensive individualized inquiries on . . . issues of . . . damages” cannot

be resolved through a class action. Sikes v. Teleline, Inc., 281 F.3d 1350,

1366 (11th Cir. 2002) abrogated on other grounds by Bridge v. Phoenix

Bond & Indem. Co., 553 U.S. 639, 128 S. Ct. 2131 (2008). But to avoid

this problem, the district court approved a method of damages that will

alter the substantive rights of the parties.

     The district court found that individual issues of damages would

not predominate because an “averages method” could be employed to

determine damages. Doc. 167 at 7. Under this method, class members

would receive awards based on the damages incurred by an average class

member without showing that the individual class member had

sustained any corresponding injury. The district court explained that “all

class members would receive a standard dollar amount for lost

opportunities to accrue rewards points (whether or not they used a

rewards card), the value of cardholder time (whether or not they spent



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any time addressing the breach), and out-of-pocket damages (whether or

not they incurred any out-of-pocket damages).” Id.

     This kind of “averages method” cannot be used to evade

individualized issues related to damages. Rule 23 is an exception to the

ordinary requirement that each individual plaintiff’s claim must be

proven through a separate proceeding. But it does not—and cannot—

permit a plaintiff to recover an award without showing that the

individual plaintiff is entitled to that award.

     The Supreme Court has rejected this kind of “averages” proof of

classwide damages in a class action proceeding. In Wal-Mart Stores, Inc.

v. Dukes, 564 U.S. 338, 367, 131 S. Ct. 2541, 2561 (2011), the Court

rejected an attempt to recover through “Trial by Formula.” There, the

class-action plaintiffs proposed to prove their claims by having a special

master determine “liability for sex discrimination and the backpay owing

as a result” for a “sample set of the class action members.” Id. To

determine the award to “the entire class,” “[t]he percentage of claims

determined to be valid would then be applied to the entire remaining

class, and the number of (presumptively) valid claims thus derived would

be multiplied by the average backpay award in sample set . . . without



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further individualized proceedings.” Id. The Court “disapprove[d]” of

“that novel project,” noting that “the Rules Enabling Act forbids

interpreting Rule 23 to ‘abridge, enlarge or modify any substantive

right.’” Id. (quoting 28 U.S.C. § 2072(b)). Since the defendant must be

able to present “defenses to individual claims,” this scheme to avoid

individual proceedings could not proceed.

        The proposed damages methodology endorsed by the district court

presents a similar attempt to recover based on averages untethered to

the circumstances of any individual claim.                 The district court

acknowledged that the model looked to the “standard dollar amount” of

various potential harms and provided an award “whether or not” each

plaintiff had actually suffered those harms. Doc. 167 at 7. This Court

should reject this “novel project.” Dukes, 564 U.S. at 367, 131 S. Ct. at

2561.

        Contrary to the suggestion of the district court, Tyson Foods, Inc. v.

Bouaphakeo, 577 U.S. 442, 459–61, 136 S. Ct. 1036, 1048–49 (2016), did

not generally “approve[] the use of averages methods to calculate

damages.” Doc. 167 at 7. Rather, Tyson Foods held that averages could

be used in a class action proceeding only when they “could have been used



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to establish liability in an individual action.” Id. at 458, 136 S. Ct. at

1048.     Permitting recovery based on an average that would not be

sufficient in an individual action “would . . . violate[] the Rules Enabling

Act by giving plaintiffs and defendants different rights in a class

proceeding than they could have asserted in an individual action.” Id.

        Tyson confirms that the damages methodology relied on by the

district court cannot be used in a class action proceeding. That model

relies on averages that would have no role in an individual proceeding.

For example, in a non-class case, a plaintiff who never used a rewards

card could not point to “a standard dollar amount for lost opportunities

to accrue rewards points” to recover damages, but here, the district court

approved reliance on this average for all putative class members

“whether or not” a plaintiff “used a rewards card.” Doc. 167 at 7. This

kind of average with no relationship to an individual’s actual damages is

exactly the kind of evidence that Tyson found would violate the Rules

Enabling Act.

IV.     Improper class actions impose substantial costs on the business
        community.

        The failure to rigorously police class actions imposes substantial

harms on the business community and the public more broadly. If classes


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are certified even when members of the class cannot show Article III

injury, as in this case, then burdensome class action litigation driven by

the interests of attorneys rather than claimants will only increase,

without any countervailing benefit to class members. The consequences

for the judicial system, as well as for businesses, their owners, customers,

and employees will be extraordinarily damaging.

     Class-action litigation costs in the United States are huge. They

totaled a staggering $2.64 billion in 2019, continuing a rising trend that

started in 2015. See 2020 Carlton Fields Class Action Survey, at 4 (2020),

available at https://ClassActionSurvey.com. The cost to defend a single

large class action can run into nine figures. See Adeola Adele, Dukes v.

Wal-Mart: Implications for Employment Practices Liability Insurance 1

(July 2011) (noting defense cost of $100 million). And such actions can

drag on for years even before a court takes up the question of class

certification. See U.S. Chamber Institute for Legal Reform, Do Class

Actions Benefit Class Members? An Empirical Analysis of Class Actions,

at 1, 5 (Dec. 2013), available at http://bit.ly/3rrHd29 (“Approximately 14

percent of all class action cases remained pending four years after they




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were filed, without resolution or even a determination of whether the

case could go forward on a class-wide basis.”).

     The certification of a class also places immense pressure to settle

on defendants.     “Certification of a large class may so increase the

defendant’s potential damages liability and litigation costs that he may

find it economically prudent to settle and to abandon a meritorious

defense.”   Coopers & Lybrand v. Livesay, 437 U.S. 463, 476 (1978)

superseded by rule on other grounds as stated in Microsoft Corp. v.

Baker, 137 S. Ct. 1702 (2017).

     This case provides a useful example of how failure to enforce the

limits on class actions imposes costs with no countervailing benefit.

Based on its misunderstanding of the requirement of “misuse” to show

standing in a data breach case, the district court certified two classes that

included any individual whose data was accessed in this breach and

posted to the dark web who undertook some mitigation efforts. This

decision would require Brinker to engage in expensive litigation even

though a substantial number of class action plaintiffs will never suffer

harm from the underlying data breach. These potential costs would be

exacerbated by the district court’s creation of a class that would require



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separate litigation to determine class membership of each individual

unnamed class member. Worse still, Brinker would face the prospect of

damages imposed on the basis of “average” calculations without any

individual plaintiff having to prove corresponding injury.

     If not corrected by this Court, the decision below will only lead to

increased litigation that could have been avoided, and litigation divorced

from Article III cases or controversies and Rule 23’s class certification

requirements.   These suits will only increase the already immense

pressure to settle improperly brought class actions. This harms the

entire economy because the costs of defending and settling abusive class

actions are ultimately absorbed by consumers and employees through

higher prices or lower wages.


                             CONCLUSION

     The decision of the district court should be reversed.



Dated: November 23, 2021               Respectfully submitted,


                                       /s/ Gilbert C. Dickey




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     I hereby certify that this brief complies with the typeface

requirements of Fed. R. App. P. 32(a)(5), the type style requirements of

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                                          /s/ Gilbert C. Dickey
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     I hereby certify that on November 23, 2021, the foregoing was

electronically filed with the Clerk for the United States Court of Appeals

for the Eleventh Circuit using the CM/ECF system. The system will

serve all counsel of record.



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